                         Case 3:22-cr-01778-KC Document 1 Filed 10/11/22 Page 1 of 2
AO 442 (REV. 12/85)


                                             United States District Court                                       FILED
                                                    Western District of Texas                               Oct 11 2022
                                                       El Paso Division                                    Clerk, U.S. District Court
                                                                                                           Western District of Texas


                                                                                                     By:            CR
                                                                                                                            Deputy
USA                                                                 §
                                                                    § CRIMINAL COMPLAINT
vs.                                                                 § CASE NUMBER: EP:22-M -02464(1) ATB
                                                                    §
(1) EDGAR CIPRIANO CORTEZ-CORVO                                     §

                  I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about October 08, 2022 in El Paso county, in the WESTERN DISTRICT OF TEXAS

defendant did, being an alien to the United States, enter, attempt to enter, or was found in the United States after having

been previously excluded, deported, or removed from the United States without receiving permission to reapply for

admission to the United States from the Attorney General of the United States and the Secretary of Homeland Security,

the successor pursuant to Title 6, United States Code, Sections 202(3), 202(4), and 557



in violation of Title                 8              United States Code, Section(s)       1326



                  I further state that I am a(n) Border Patrol Agent and that this complaint is based on the following facts: "

The DEFENDANT, Edgar Cipriano CORTEZ-Corvo, an alien to the United States and a citizen of Venezuela was

found approximately .28 miles west of the Paso Del Norte Port of Entry in El Paso, Texas in the Western District

of Texas. From "

Continued on the attached sheet and made a part of hereof.



Sworn to before me and subscribed in my presence,                                     /S/ PONCE, CESAR
                                                                                    Signature of Complainant
                                                                                    Border Patrol Agent


October 11, 2022                                                                at EL PASO, Texas
File Date                                                                          City and State



ANNE T. BERTON                                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                                      Signature of Judicial Officer

                                                                                    OATH TELEPHONICALLY SWORN
                                                                                    AT 1:03 P.M.
                                                                                    FED.R.CRIM.P. 4.1(b)(2)(A)
                  Case 3:22-cr-01778-KC Document 1 Filed 10/11/22 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:22-M -02464(1)

WESTERN DISTRICT OF TEXAS

(1) EDGAR CIPRIANO CORTEZ-CORVO

FACTS (CONTINUED)

statements made by the DEFENDANT to the arresting agent, the DEFENDANT was determined to be a native and
citizen of Venezuela, without immigration documents allowing him to be or remain in the United States legally.
The DEFENDANT has been previously removed from the United States to Venezuela on May 4, 2007, through
Houston, Texas. The DEFENDANT has not previously received the expressed consent from the Attorney General
of the United States or the Secretary of Homeland Security to reapply for admission into the United States.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:

The DEFENDANT has been removed 1 time(s), the last one being to VENEZUELA on May 4, 2007, through
HOUSTON, TX

CRIMINAL HISTORY:

11/08/2006, Omaha, NE, Carrying Concealed WEapon(M), CNV, 29 Days Jail.
